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                     EXHIBIT B
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   LAN LI, et al.,                     )
                                       )                 Civil Action No. 16-81871-Civ-Marra
   Plaintiffs,                         )                 LEAD CASE
                                       )
   v.                                  )
                                       )
   WALSH, et al.,                      )
                                       )
   Defendants.                         )
                                       )
                                       )
   LAN LI, et al.,                     )
                                       )                 Civil Action No. 19-80332
   Plaintiffs,                         )
                                       )
   v.                                  )
                                       )
   PNC BANK, N.A., and                 )
   RUBEN RAMIREZ,                      )
                                       )
   Defendants.                         )
   ____________________________________)


                     NOTICE OF DEPOSITION OF JOSEPH J. WALSH, SR.

          PLEASE TAKE NOTICE, that pursuant to Rules 30 and 26 of the Federal Rules of Civil

   Procedure and Local Rule 26.1(h), Plaintiffs, Li Lan, et al. (“Represented Plaintiffs”), will take

   the deposition of Joseph J. Walsh, Sr., on June 11, 2020, beginning promptly at 9:00am, at the

   offices of Matthew Fornaro, P.A., 11555 Heron Bay Blvd., Suite 200, Coral Springs, Florida,

   33076. The deposition shall be taken before a certified court reporter authorized to administer

   oaths and will be recorded stenographically.

          The deposition will be taken for the purposes of discovery, for use at trial or any hearing

   in this matter, and for any other purpose permitted under the Federal Rules of Civil Procedure.




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   You are invited to attend and cross-examine. The oral examination shall continue from day to

   day until completed.



                                                      Respectfully submitted,
                                                      LI LAN, et al.
                                                     By: /s/Katherine Burghardt Kramer
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                                    CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 20, 2020, the foregoing document is being served this
      day on all counsel of record or pro se parties by first class mail and/or email.

                                                       By: /s/ Katherine Burghardt Kramer
                                                       Katherine Burghardt Kramer, Esq.

                                          SERVICE LIST
                               Lan Li, et al., v. Joseph Walsh, et al.
                                  Case No. 9:16-cv-81871-KAM
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    Receipt                                        Receipt




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